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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                             )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )     C.A. No. 22-1466-MN
                                                    )
TESLA, INC.,                                        )
                                                    )
               Defendant.                           )
                                                    )


     MOTION FOR TELECONFERENCE TO RESOLVE DISCOVERY DISPUTES

       Pursuant to the Court’s oral order at D.I. 63, Autonomous Devices LLC (“Autonomous”)

respectfully moves this Court to schedule a teleconference to address outstanding discovery

disputes regarding the following matters:

           Tesla, Inc.’s (“Tesla’s”) refusal to provide any discovery regarding predecessor

            supercomputers (identified in Autonomous’ Paragraph 6(a) disclosures as accused

            products) in response to Autonomous’ Interrogatories and Requests for Production.

           Tesla’s refusal to produce any wiki or training documents to assist in the review of

            the source code and other Tesla internal technical documents (Autonomous’ Request

            for Production No. 35).

           Tesla’s refusal to produce documents related to the safety of the accused Full Self-

            Driving and Enhanced Autopilot technology (Autonomous’ Request for Production

            Nos. 85, 87, 88, 89).
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          Tesla’s refusal to respond to Autonomous’ Interrogatory No. 10 seeking identification

           of former employees with supervisory or management roles regarding the accused

           technology.

          Tesla’s unilateral limitation of production of relevant agreements to agreements

           related to autonomous driving or training a vehicle for autonomous driving

           (Autonomous’ Interrogatory No. 8 and Requests for Production Nos. 60, 79, 80).

       The following attorneys, including at least one Delaware Counsel and at least one Lead

Counsel per party, participated in a verbal meet-and-confer (in person and/or by telephone) on

the following date(s):

       First Meet and Confer: June 23, 2023
       Second Meet and Confer: July 24, 2023
       Delaware Counsel for Plaintiff: Karen E. Keller (second meet and confer)
       Delaware Counsel for Defendant: Cameron Clark (first meet and confer), Brian Egan
       (second meet and confer)
       Lead Counsel for Plaintiff: Blair M. Jacobs
       Lead Counsel for Defendant: Anish Desai (first meet and confer), Adrian Percer (second
       meet and confer)

       The parties are available for a teleconference on August 28 and 29.

 OF COUNSEL:                                    /s/ Emily S. DiBenedetto
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 Dated: August 11, 2023

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